        Case 1:18-cv-11898-WGY Document 56 Filed 11/05/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS



         GIBSON
                     Plaintiff
                                                        CIVIL ACTION
                V.
                                                        NO. 1:18-11898-WGY
  SPRINGFIELD COLLEGE et al
               Defendants


                                 ORDER OF DISMISSAL


 YOUNG, DJ ,


      In accordance with the Court's order for failure of the plaintiff to appear at hearing

on October 24, 2018, it is hereby ORDERED that the above-entitled action be and hereby

is dismissed.


                                                        By the Court,


 November 5, 2018                                        /s/ Jennifer Gaudet
Date                                                    Deputy Clerk
